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UNITED STATES DISTRlCT CoURT / t J¢i ~ 9 ‘¢`@CJ
SOUTHERN DISTRICT oF FLoRIDA
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cLF_RK, usoc/sDFL/ MlA
Case No. 00-1386-CIV-Ungaro-Benages/Brown

RICHARD RUBIN,
Plaintiff,
vs.

U.S. NEWS & WORLD REPORT, INC.
and David E. Kaplan,

Defendants.

MOTION OF DEFENDANTS TO DISMlSS THE COMPLAINT

Defendants U.S. News & World chort. lnc. (“U.S. News") and David E. Kaplan
("l<`.aplan”)_ respectfully move this Court for an Order dismissing the Complaint of plaintiff
Richard Rubin (“Rubin”) with prejudice, pursuant to Rule lZ(b)(6) of the Federal Rules of Civil
Procedure. This libel action arises out of an article (the “Article”) published in the November
29. 1999 edition of U.S. News and written by Kaplan.

As grounds for this Motion, defendants state:

l. Rubin`s Complaint does not allege that any of the facts about him in the Article
are false or that quotes from him are inaccurate Instead, his claim is predicated entirely on the
theory of libel-by-implication - that is that the Articlc does not state but allegedly implies that

Rubin is involved in money laundering and other criminal activities.

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2. To prevail on this theory, Rubin must show, first, based just on the face of the
article, that the alleged implication could be reasonably understood from the Article, and,
second. that the Article demonstrates that the implication was intended or adopted.

3. The Complaint fails to state a claim because the Article is not capable of a
defamatory meaning in that the Article can not be reasonably understood as implying that Rubin
was engaged in money laundering or other criminal activities and the Article contains no
affirmative evidence that any such implication was intended or endorsed.

4. In addition, the Complaint fails to state a claim because the defamatory statements
in the Article can not be reasonably understood as “of and conceming” plaintiff

For these reasons as detailed more specifically in the accompanying Memorandum of
Law and upon the Declaration of Laura R. Handman and attachments thereto, defendants
respectfully submit that the Complaint should be dismissed in its entirety with prejudice because
it does not state a claim for defamation as a matter of law.

Dated this 9‘*‘ day ofJune, 2000.

Respectfully submitted_
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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on this 9‘h day of June, 2000, true and correct copies of the
foregoing Motion to Dismiss the Complaint were served by first class mail, postage prepaid,

upon:

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